
939 A.2d 116 (2008)
402 Md. 688
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Alfred Amos PAGE, Jr., Respondent.
Misc. Docket AG No. 37 Sept. Term, 2007.
Court of Appeals of Maryland.
January 7, 2008.

ORDER
Upon consideration of the Joint Petition for a Suspension of Respondent, by consent, for thirty days filed herein pursuant to Maryland Rule 16-772, it is this 7th day of January, 2008,
ORDERED, by the Court of Appeals of Maryland, that Alfred A. Page, Jr., be, and is hereby, suspended for a period of thirty (30) days from the further practice of law in the State of Maryland, effective immediately; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Alfred A. Page, Jr. from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
